                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA                     )
                                              )
                                              )
 v.                                           )       Case No.      3:21-CR-91
                                              )                     Judge Katherine A. Crytzer
                                              )
 JESSIE GOUGH                                 )


        DEFENDANT’S SUPPLEMENT TO THE PARTIES’ JOINT SENTENCING
                            MEMORANDUM

         The parties have submitted a joint sentencing memorandum [Doc. 48] requesting that this

 Court partially grant Mr. Gough’s Motion for Downward Variance [Doc. 42] and impose a

 sentence of twenty-four months followed by three years of supervised release. Mr. Gough submits

 this supplement to respectfully request that, in addition to imposing the proposed sentence, this

 Court permit Mr. Gough to report to custody following designation of location by the Bureau of

 Prisons and as instructed by the Bureau of Prisons. Counsel for the United States has no objection

 to this request.

         Respectfully submitted,


 s/Marcos M. Garza                                    s/Tyler M. Caviness
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                                  CERTIFICATE OF SERVICE

        I, Tyler M. Caviness, attorney for Jessie Gough, hereby certify that a copy of this pleading

 was filed electronically on November 29, 2023. Notice of this filing will be sent by operation of

 the Court’s electronic filing system to all parties indicated on the electronic filing receipt. Parties

 may access this document through the Court’s electronic filing system.

        This the 29th day of November, 2023.

                                                s/ Tyler M. Caviness            ____________
                                                TYLER M. CAVINESS




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